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              In the United States Court of Federal Claims
                                        No. 08-48C
                                  (Filed October 31, 2008)
 ***********************                        *
                                                *
 MALCOLM B. BLANKENSHIP III,                    *   Military pay; claim under 37
                                                *   U.S.C. § 204 (2000), for back
                    Plaintiff,                  *   pay and allowances; review of
                                                *   decision of military correction
            v.                                  *   board; justiciability; whether
                                                *   failure to follow syllabus
 THE UNITED STATES,                             *   requiring remedial flight training
                                                *   by Navy aviation program
                     Defendant.                 *   entitles serviceman to award of
                                                *   wings; reliance on advisory
 ***********************                        *   opinion.


       William E. Cassara, Evans, GA, for plaintiff.

      Christopher L. Krafchek, Washington, DC, with whom was Assistant Attorney
General Gregory G. Katsas, for defendant. LCDR Marc S. Brewen, Office of the Judge
Advocate General, Washington, DC, of counsel.

                      MEMORANDUM OPINION AND ORDER

MILLER, Judge.

       Malcolm B. Blankenship III (“plaintiff”) challenges the decision of the Board for
Correction of Naval Records (the “BCNR”) sustaining his attrition from the Naval Aviation
Training Program and denying plaintiff’s application for correction of military records under
10 U.S.C. § 1552 (2000). Plaintiff now seeks judicial relief in the form of back pay and
allowances pursuant to 37 U.S.C. § 204 (2000).

      Defendant seeks to dismiss plaintiff’s claim as not justiciable. Argument is deemed
unnecessary by the transferee judge.

                                          FACTS

      The following facts are derived from the Administrative Record (the “AR”). On
August 3, 1999, plaintiff entered into the Aviation Officer Candidate Program, which
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required him to enlist in the United States Naval Reserves. Following his successful
completion of Officer Candidate School, on January 28, 2000, plaintiff was assigned to train
as a Student Naval Pilot (the “SNP”) with the Naval Aviation Training Program for the
United States Naval Reserve, Naval Aviation Schools Command, NAS Pensacola, Florida.
Plaintiff was assigned to Training Squadron Thirty-One. The Student Naval Aviation
Program (the “SNA Program”) consists of four primary phases or wings: 1) aviation
indoctrination; 2) primary; 3) intermediate; and 4) advanced. Each training phase is divided
into stages that must be completed successfully before the trainee advances to the next phase,
and within each stage the trainee must complete several training flights. After completing
a flight, a SNP receives a form evaluating his performance as either an “up” (satisfactory)
or a “down” (unsatisfactory), and a notation is made as to whether the SNP completed the
flight. This evaluation form is called an Aviation Training Jacket (“ATJ”). To successfully
complete each stage, the SNP must pass each training flight prescribed within the particular
stage.

        Pursuant to paragraph 700 of the Naval Air Training Instruction 1500.4F
(“CNATRAINST 1500.4F” or the “Instruction”) “jacket reviews,” a review of multiple
ATJs, must be conducted regularly so that the flight instructor and the SNP can track
progress and flag poor or marginal performance. Id. ¶ 700(g). Four grade level definitions
measure overall performance: 1) Unsatisfactory (numeric grade 1.0); 2) Below Average
(numeric grade 2.0); 3) Average (numeric grade 3.0); 4) Above Average (numeric grade 4.0).
Id. ¶ 703. An instructor considers a number of criteria in assessing a SNP’s grade level, such
as “head work,” the ability of the SNP to “understand and grasp the meaning of instructions,
demonstrations, and explanations”; and “basic airwork,” which measures the SNP’s mastery
of power and flight controls. Id. ¶ 704(a),(c).

        A SNP is flagged as “mid-stage or end-of-stage marginal,” if the SNP has “a student
flight grade 1.2 or greater standard deviations below the squadron average for an active or
completed stage respectively.” Id. ¶ 717. Marginal mid-stage or end-of-stage does not
measure unsatisfactory but substandard performance. Id. Following this designation, a “pink
sheet” is issued to document the problem and any actions taken, and a trend analysis is
performed. Id. The flight instructors can “take action” by recommending extra flight
training, providing counseling and advice, or conducting interviews to see if the SNP has any
medical or family issues affecting performance. Id. ¶ 718. However, if a SNP completes
multiple stages as marginal, either mid-stage or end-of-stage, and exhibits an overall trend
of unsatisfactory performance, the SNP can be referred to the Student Progress Disposition
Board (the “PRB”) to determine whether the SNP should continue training. Id. ¶¶ 718-19.
The PRB’s determination is forwarded to the commanding officer, whose endorsement is
forwarded to the training wing’s commander to determine retention or attrition in the SNA
program. Id. ¶ 720(c).

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        Plaintiff successfully completed the Aviation Indoctrination training phase in June
2000 and began the primary phase on August 18, 2000. Shortly thereafter, on August 31,
2000, plaintiff received a “supplementary jacket form,” which informed plaintiff about the
Naval Aviation Training Advisor Program (the “NATAP”) and also outlined the details of
his responsibility to the NATAP. The NATAP policy form recited that the program was
established “for the benefit of Student Naval Pilots (SNP). It is the responsibility of each
student to use this program throughout all phases of flight training. The advisor is the first
link in the chain of command between SNP’s and the Flight Leader.” AR Tab 1 at 9. The
NATAP policy required each SNP to notify his advisor of 1) any personal conflicts that may
affect his performance; 2) “progression in the syllabus”; 3) upcoming scheduled ATJ
reviews; and 4) “a marginal or unsat[isfactory] event . . ., flight and/or academic.” AR Tab
1 at 9. Plaintiff signed the NATAP form acknowledging that he had read and understood the
purpose of, and his responsibilities to, the program.

       Plaintiff successfully completed the first three stages of the training. He received
some “unsatisfactory” ratings in the primary and intermediate stages, but only during the
advanced training stage did plaintiff begin to have perceptible difficulty. As of July 23,
2001, plaintiff completed seven graded events; his average score was 2.978, below the
squadron cutoff of 3.019. By August 6, 2001, plaintiff had completed twelve graded events,
receiving the same average of 2.978, just slightly below the squadron cutoff of 2.982. On
September 7, 2001, plaintiff flew Radio Instrument flight 15 (“RI-15”) and received a score
below the squadron marginal cutoff score. Then on September 24, 2001, plaintiff received
“down” and “incomplete” scores for Radio Instrument flight 24 (“RI-24”). AR Tab 1 at 16.
Following flight RI-24, it was determined that plaintiff had “multiple headwork errors” and
needed “some extra time” to complete RI-24. AR Tab 1 at 17. Thus, on September 26 and
October 1, 2001, plaintiff flew two extra flights, thereafter successfully completing RI-24 on
October 2, 2001.

        On October 4, 2001, plaintiff received another “down” rating for Radio Instrument
flight 26 (“RI-26”) and was subsequently referred to the PRB on October 5, 2001. The ATJ
for RI-26 noted: “Very evident that [plaintiff] has the motivation and knowledge to make a
good naval aviator. His knowledge of aim/far and limits was excellent. Needs practice
putting it all together in a dynamic environment. Recommend 2 ETs [extra training] and
continue . . . .” AR Tab 1 at 24.

         On October 9, 2001, the PRB unanimously voted (3-0) to retain plaintiff, stating that
plaintiff “has been identified with less than satisfactory performance in headwork during
flight . . . . [Plaintiff] demonstrates very positive attributes for a career in naval aviation. His
general knowledge is excellent and he has a strong determination to correct his inflight
discrepancies . . . .” AR Tab 1 at 27. The PRB recommended that plaintiff receive two extra

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training flights and continue with the SNA program. The PRB’s findings and plaintiff’s
records were forwarded to Training Wing Four’s commanding officer. The commanding
officer on October 11, 2001, disapproved of the PRB’s recommendations, concluding that
plaintiff is

       a very motivated professional who has given his best effort to meet the
       standard. However, he is currently at an NSS of 23.1 with only 7 events to go
       to finish the advance phase. He currently needs 9 net above averages to meet
       the minimum waiver standards . . . to get his wings. Given his performance to
       date I have 100% confidence that he would not be able to finish within the
       standard.

AR Tab 1 at 27. He recommended that plaintiff be attrited. The commanding officer’s
recommendation to remove plaintiff from the program was forwarded to the Commodore of
Training Wing Four, who, on October 23, 2001, “concurr[ed] with [the commanding officer
that plaintiff] is too far behind at this point to consider it reasonable to meet even the
minimum standards . . . .” AR Tab 1 at 27. On October 20, 2001, the Corpus Christi Caller-
Times published an announcement listing plaintiff as having received his wings and
graduated from the Naval Aviation Training Program.

        On November 6, 2001, plaintiff submitted an informal request for reconsideration of
his notification of removal from flight training. Upon the recommendation to allow him to
present his case more fully, by memorandum dated November 13, 2001, plaintiff submitted
a formal justification for continuation in the SNA Program to the Chief of Naval Air Training
Command, Training Air Wing Four. Plaintiff contested that “[m]y status as mid-stage
marginal should have been explained to me after RI-15 along with counseling in order to
determine problem areas and the actions needed to be taken to correct them, [i].e. extra
training flights, extra instruction per references . . . .” AR Tab 1 at 30. Plaintiff pointed out
that “[i]t was evident that my flight leader as well as student control had not been tracking
my NSS or my grades through jacket reviews . . . to alert me of my status at an earlier date
so something could be done in order to complete the program successfully.” AR Tab 1 at 30.
Plaintiff explained that, following flight “RI-9, I approached my flight leader about my low
grades and was told I had ‘nothing to worry about.’ . . . It is my opinion that my grades in
the RI stage are not accurately portrayed because of the lack of counseling, extra flights and
extra instructions.” AR Tab 1 at 30. Plaintiff also noted that all the ATJs commented on
plaintiff’s “exemplary work ethic” and that the PRB also made “positive comments” about
plaintiff’s performance in the flight program. AR Tab 1 at 30-31.

      On November 19, 2001, pursuant to CNATRAINST 1500.4F, a Training Review
Board (the “TRB”), comprised of eight officers, convened to discuss the recommendation

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of Training Air Wing Four’s commanding officer to remove plaintiff from the SNA program
based on performance. The TRB reviewed plaintiff’s file “to ensure quality of training
provided [consistent with the Flight Training Instruction]. . . continuity of training was
accurate, and that there were no outside influences or extenuating circumstances.” AR Tab
1 at 34. Although the TRB acknowledged “some syllabus deviations,” the TRB assessed that
“they would not have sufficient impact on his performance. They certainly would not have
sufficient effect to raise his” score of 23.8 to a level that would reach “the substandard 30.0
or the marginal 35.0” level required to graduate from the SNA Program. AR Tab 1 at 34.
Any additional flying time awarded to plaintiff would not raise his score any where “near the
marginal 30.0.” AR Tab 1 at 35.

        The TRB found “[n]o doubt that [plaintiff] should have been officially informed of
his marginal performance after the RI-15 ride. This is an error . . . that happened for many
reasons, late completion of grade sheets, confusion caused by the events of 11 September,
temporary stand down from flying and then the rapid ramp back up of flight
operations . . . .” AR Tab 1 at 34. However, the TRB discounted as “extremely unlikely”
that plaintiff was not aware of his “marginal status,” given that “he approached his flight
leader after RI-9 . . . to discuss his concern about his low grades.” AR Tab 1 at 34. While
the two “Downs” were plaintiff’s first, plaintiff was “habitually and always hovering near
the bottom of his class.” Chiding plaintiff for “blam[ing] everyone and anyone for not
tracking his . . . grades,” the TRB observed that plaintiff took “little responsibility for his
own neglect.” AR Tab 1 at 34. The TRB stated that plaintiff “fails to realize that the training
syllabus does not only serve to get student pilots through the program[,] but also functions
to ensure that the military pilot standards remain high by attriting unsuitable pilot training
candidates . . . .” AR Tab 1 at 35. On November 20, 2001, the TRB concluded unanimously,
by a vote 8 to 0, to remove plaintiff from the SNA Program. The Deputy Chief of Naval Air
Training formally responded to plaintiff’s appeal to the TRB on June 26, 2002, informing
plaintiff of the TRB’s decision.

        Per plaintiff’s written request made on March 27, 2002, plaintiff had been
redesignated as a Navy Surface Warfare Officer. Plaintiff served as a carrier airborne
Combat Information Center Officer until he voluntarily resigned his commission and was
honorably discharged in September 2003. By letter dated September 19, 2002, plaintiff’s
father, a combat veteran of Vietnam, urged Rear Admiral John Boyington to reconsider the
Navy’s decision to remove plaintiff from the SNA program in an effort to enable plaintiff to
enter the North Carolina Air National Guard pilot training program for the C-130 Aircraft
as an Interservice Transfer to the U.S. Air Force, “where he can pass or fail in C-130
training, and put to use two years of training otherwise wasted.” AR Tab 1 at 50. Given that
plaintiff has not been reinstated to the SNA program to date, and therefore never
matriculated, he did not make this Interservice Transfer.

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         On August 6, 2004, plaintiff submitted a request to the BCNR for correction of his
military record under 10 U.S.C. § 1552, claiming that he should have been awarded his wings
as a Naval Aviator. Plaintiff contended that he was denied wrongfully the right to retake the
flight event that he failed, as he had passed all other flights in the basic through advanced
training phases. “The Navy denied me the right to retake that [flight] event and now admits
it failed to follow its own procedure. No one should be attrited on this basis one week before
being winged.” AR Tab 1 at 55. By letter dated August 12, 2004, and per plaintiff’s request,
Senator Elizabeth Dole also submitted to the BCNR a request to review plaintiff’s records.

        The BCNR received plaintiff’s application and requested, by letter dated January 3,
2005, an advisory opinion from the Director of Aviation Officer Distribution Division for
the Navy. The advisory opinion was sought to assure a “fair and equitable decision in this
case.” AR Tab 1 at 59. The BCNR explained that the Director must review plaintiff’s record
and weigh plaintiff’s complaint in light of Navy policies, regulations, and guidelines. On
January 11, 2005, the Director issued his advisory opinion recommending disapproval of
plaintiff’s request for redesignation. The Director explained that plaintiff’s low scores and
decline in performance during the advanced stages of flight training did not justify extra
flights to improve performance. “The purpose of training flights is to focus on remediation
of specific performance problems, not overall declining performance . . . .” AR Tab 1 at 62.
The Director continued, “Awarding [plaintiff] Navy pilot wings solely for the purpose of an
Interservice Transfer . . . [to] the North Carolina Air National Guard is inappropriate and
would severely compromise the high standards set by Naval [A]ir Training.” Id.

        By letter dated February 3, 2005, the BCNR informed plaintiff that his application for
correction of military records had been transferred to the BCNR’s “Performance Section” for
an advisory opinion, which was enclosed. The BCNR advised plaintiff that the opinion was
not binding, and, if plaintiff “wish[es] to respond to the advisory opinion or submit
documentary material in support of [plaintiff’s] application,” plaintiff either must respond
or request an extension of time within thirty days of the date of the letter. AR Tab 1 at 63.
Plaintiff responded by letter dated February 22, 2005, requesting a personal appearance and
additional time to submit materials in support of his case and made a “partial response” to
the findings in the advisory opinion. AR Tab 1 at 65-66. Plaintiff pointed out that he could
not “pinpoint in my training jacket” where he was allegedly rated in the bottom percent of
his class. Plaintiff stated this his record reflects many positive comments, and also reveals
that plaintiff had “an unusual amount of disruptions in training, due, for example, to medical
issues . . . .” Id.

       Plaintiff reminded the BCNR that the original three-member review panel of the PRB
had voted unanimously to retain him in the program and to allow plaintiff to retake the last
training flight. This three-member panel was the only group that knew plaintiff personally

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and was familiar with his “abilities and potential.” AR Tab 1 at 65-66. In appealing to the
BCNR, plaintiff explained that at this point he requested his “wings and a piece of paper
saying I deserved them.” AR Tab 1 at 66. Plaintiff submitted the same letter again on March
19, 2005 to the BCNR.

       By memorandum of December 8, 2005, the BCNR denied plaintiff’s request to correct
his military records. In making its decision, the BCNR considered the Director’s advisory
opinion dated January 11, 2005, plaintiff’s service record, and plaintiff’s letters dated
February 22 and March 19, 2005.

       Plaintiff’s complaint filed in the United States Court of Federal Claims on January 22,
2008, was assigned to Chief Judge Edward Damich. Plaintiff alleges that the BCNR’s denial
of plaintiff’s request to correct his military records was “arbitrary, capricious, and
unsupported by substantial evidence.” Compl. filed Jan. 22, 2008, ¶ 33.

        Plaintiff alleges that he should not have been removed from the SNA Program,
because the SNA Program failed to notify him that his status was marginal and that he was
in danger of not graduating. Absent the Navy’s failure to follow its own procedures, plaintiff
posits that he could have improved his performance. The “purpose of a marginal designation
is to help the student aviator identify steps needed to improve performance.” Compl. ¶ 35.
According to plaintiff, the Navy made an administrative error by not advising plaintiff of his
marginal status “at the first sign of trouble” -- rather informing plaintiff at the end of the
training phase, shortly before graduation. Compl. ¶¶ 35, 37.

       On May 16, 2008, following two motions for extension of time to file its answer,
defendant filed a RCFC 12(b)(6) motion to dismiss for failure to state a claim for which
relief can be granted, arguing that plaintiff’s complaint raises nonjusticiable issues.
Alternatively, defendant moved for judgment on the administrative record pursuant to RCFC
52.1. Briefing was completed on July 24, 2008. On September 25, 2008, this case was
transferred to the undersigned for decision.

                                       DISCUSSION

I. Standards

       1. Justiciability

        Plaintiff asserts that the Navy improperly removed him from the SNA Program and
that the BCNR erred by not correcting his military records and by not granting plaintiff his
wings as a Naval Aviator. Plaintiff seeks back pay and allowances pursuant to 37

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U.S.C. § 204. His claims are within the court’s jurisdiction pursuant to the Tucker Act, 28
U.S.C. § 1491(a)(1) (2000).1/ See Sargisson v. United States, 913 F.2d 918, 920 (Fed. Cir.
1990); Sanders v. United States, 594 F.2d 804, 810 (Ct. Cl. 1979). Defendant does not
contest the court’s jurisdiction, but the justiciability of plaintiff’s claim.

               “The distinction between [nonjusticiability and lack of jurisdiction] is
       significant. In the instance of nonjusticiability, consideration of the cause is
       not wholly and immediately foreclosed; rather, the Court’s inquiry necessarily
       proceeds to the point of deciding whether the duty asserted can be judicially
       identified and its breach judicially determined, and whether protection for the
       right asserted can be judicially molded.”

Sargisson, 913 F.2d at 921 (brackets in original) (quoting Baker v. Carr, 369 U.S. 186, 198,
(1961)); see Murphy v. United States, 993 F.2d 871, 872 (Fed. Cir. 1993). “A controversy
is justiciable only if it is one which the courts can finally and effectively decide, under tests
and standards which they can soundly administer within their special field of competence.”
Sargisson, 913 F.2d at 922 (internal quotations and citations omitted). Otherwise, the “‘court
would have no meaningful standard against which to judge the agency’s exercise of
discretion.’” Webster v. Doe, 486 U.S. 592, 600 (1988) (quoting Heckler v. Chaney, 470
U.S. 821, 830 (1985)). Thus, defendant’s challenge requires the court to examine plaintiff’s
claims and determine whether the court can afford him proper relief.

        Although the Court of Federal Claims may have jurisdiction of this case under the
Tucker Act, a court cannot review the military’s exercise of discretion in personnel matters.
Voge v. United States, 844 F.2d 776, 779-80 (Fed. Cir. 1988). Plaintiff argues that the court
should require the Navy to grant plaintiff his wings as a Naval Aviator by reinstating him in
flight training. See Compl. at 6. Granting such relief would require the court to substitute
its judgment for the military’s, because the court would be finding that plaintiff’s ATJs
reflect sufficient performance scores to justify continuation in the SNA program and



       1/ The Tucker Act provides:

       (1) The [Court] shall have jurisdiction to render judgment upon any claim against the
       United States founded either upon . . . an Act of Congress or any regulation of an
       executive department. . . .
       (2) To provide an entire remedy and to complete the relief afforded by the judgment,
       the court may, as an incident of and collateral to any such judgment, issue orders
       directing restoration to office or position . . . and correction of applicable records, and
       such orders may be issued to any appropriate official of the United States.

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graduation as a Naval Aviator, irrespective of the Navy’s decision to the contrary. To the
extent that plaintiff seeks such a substantive review, the court cannot engage in it.

        Discretionary authority to correct military records lies with the Secretary of a military
department. As 10 U.S.C. § 1552(a)(1) provides: “The Secretary of a military department
may correct any military record of the Secretary’s department when the Secretary considers
it necessary to correct an error or remove an injustice.” The Secretary may act through a
correction board. Id. § (a)(2). As defendant argues, Congress vested the ultimate authority
for the determination of plaintiff’s qualifications as a Naval Aviator in the Secretary of the
Navy. See 10 U.S.C. §§ 6021, 6024 (2000). The Secretary of the Navy established the
BCNR and gave it discretionary authority to “consider applications properly before it for the
purpose of determining the existence of error or injustice in the naval records of current and
former members of the Navy and Marine Corps.” 32 C.F.R. § 723.2(b) (2008). Through the
BCNR, the Navy acted and rendered its decision. This decision was within the Navy’s
purview, not the judiciary’s.

       [J]udges are not given the task of running the [military] . . . . The military
       constitutes a specialized community governed by a separate discipline from
       that of the civilian. Orderly government requires that the judiciary be as
       scrupulous not to interfere with legitimate [military] matters as the [military]
       must be scrupulous not to intervene in judicial matters.

Orloff v. Willoughby, 345 U.S. 83, 93-94 (1953). Justiciability, as it relates to this case, thus
recognizes the deference given by the court to the Navy as the particular and competent
authority to exercise discretion and make decisions in matters affecting its personnel. Fisher
v. United States, 402 F.3d 1167, 1176 (Fed. Cir. 2005).

       2. Judgment on the merits

        If the court had decided the claim was justiciable, the case, including any alleged
procedural claims, appropriately could be resolved on a judgment on the administrative
record. See RCFC 52.1. In military pay matters, the court reviews a plaintiff’s case “through
the prism of a correction board.” Cohn v. United States, 15 Cl. Ct. 778, 789 (1988). In the
present case, the BCNR denied plaintiff’s claims. To overturn that decision, plaintiff bears
the burden of demonstrating by “cogent and clearly convincing evidence,” Arens v. United
States, 969 F.2d 1034, 1037 (Fed. Cir. 1992), that the BCNR’s decision was “arbitrary,
capricious, contrary to law, or unsupported by substantial evidence.” Roth v. United States,
378 F.3d 1371, 1381 (Fed. Cir. 2004); see also Wronke v. Marsh, 787 F.2d 1569, 1576 (Fed.
Cir. 1986) (stating that plaintiff is bound by correction board’s interpretation unless it is



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“established that [the board’s] determination was arbitrary, capricious, contrary to law, or
unsupported by substantial evidence”).

        Plaintiff argues that he should not have been removed from the SNA program one
week before graduation; if he was in danger of not graduating because of his marginal scores,
he should have been notified earlier, thereby affording him the opportunity to improve.
Plaintiff postulates that the Navy violated its own procedures promulgated under
CNATRAINST 1500.4F. Sargisson, 913 F.2d 918, is cited as authority that the Navy
improperly failed to follow its own procedures and instructions under CNATRAINST
1500.4F. Plaintiff contends that these Instructions provide for “a series of procedural
safeguards” for students that are labeled as having “marginal performance.” Pl.’s Br. filed
July 10, 2008, at 7; see Sargisson, 913 F.3d at 921 (stating that military is not required to
place procedural or substantive limitations on Secretary’s decisions; however, once Secretary
promulgates instructions, actions contrary to such instructions are subject to judicial review);
see also 10 U.S.C. § 6021 (“The number of officers and enlisted members of the Navy and
the Marine Corps detailed to duty involving flying and to other duties in connection with
aircraft shall be in accordance with the requirements of naval aviation as determined by the
Secretary of the Navy.”); 10 U.S.C. § 6024 (“Any officer of the naval service may be
designated a naval flight officer if he has successfully completed the course prescribed for
naval flight officers.”). Plaintiff argues that he did not receive the benefit of these safeguards
and that, if he had, he could have improved his scores and matriculated through the SNA
program.

      Plaintiff draws the court’s attention to two provisions, paragraphs 715 and 718, of
CNATRAINST 1500.4F to support his argument that the Navy violated its own “procedural
safeguards” when it did not take “specific courses of action . . . to improve [plaintiff’s]
performance.” Pl.’s Br. filed July 10, 2008, at 8. The first provision, paragraph 715,
provides, in pertinent part:

       Early identification of marginal performance is key to the determination of
       actions the command and student must take to improve student performance.
       Marginal performance shall be identified to focus attention on the students
       whose performance, though technically passing, is substandard. Students’
       grades shall be reviewed weekly to determine marginal performance. A
       marginal review is done after completion of a minimum of four graded
       syllabus events or at the discretion of the squadron student control
       officer . . . .

      The second provision, paragraph 718, explains that the purpose of the “marginal
performance disposition” is to “highlight a student’s trends, and apply practical steps to

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determine what actions are required to prevent unsatisfactory completion.” Plaintiff argues
that he was counseled as mid-stage marginal on July 23, 2001, and as end-stage marginal on
August 6, 2001, but was not awarded extra training flights until September 24, 2001, and
October 4, 2001. On October 5, 2005, plaintiff was also referred to the PRB. The BCNR
rejected plaintiff’s arguments. 2/ The court previously has quoted key findings of the
advisory opinion relied on by the BCNR. Significant to plaintiff’s arguments before the
court, the advisory opinion stated that

       [t]he purpose of training flights is to focus on remediation of specific
       performance problems, not overall declining performance. . . .

              Awarding [plaintiff] Navy pilot wings solely for the purpose of an
       Interservice Transfer . . .[to] the North Carolina Air National Guard is
       inappropriate and would severely compromise the high standards set by Naval
       air Training.

AR Tab 1 at 62. Although the BCNR relied on the advisory opinion, it also considered
plaintiff’s training records and the letters that he had submitted to the BCNR. The
administrative record establishes that the BCNR’s decision was supported by substantial



        2/ Plaintiff suggests that it was improper for the BCNR to rely on an advisory opinion
in making its decision upholding the recommendation not to remove plaintiff from the
program. Pl.’s Br. filed July 10, 2008, at 10; Compl. ¶ 34; see also Def.’s Br. filed May 16,
2008, at 15 (stating that “Although not clear, it appears that plaintiff also takes issue with the
fact that the BCNR relied upon an advisory opinion from the Navy Personnel Command
when it made its determination on plaintiff’s application for correction of military records.”).
The “function” of the BCNR “is to consider applications properly before it for the purpose
of determining the existence of error or injustice in the naval records”; the BCNR is not an
“investigative body.” 32 C.F.R. § 723.2(b) (2008). The BCNR requested an advisory opinion
to aid in its review of plaintiff’s claim. The BCNR also reviewed plaintiff’s record and the
letters that he submitted.

       A review board’s reliance on an advisory opinion to aid its review of a record is
consistent with the function of a reviewing body and does not render the BCNR’s actions
arbitrary, capricious, or contrary to law. It is an established practice for military review
board to use advisory opinions when investigating an applicant’s record fitness for service.
Armstrong v. United States, 205 Ct. Cl. 754, 764 (1974); see also Koster v. United States,
685 F.2d 407, 412 (Ct. Cl. 1982) (in a non-adversarial context ex parte communication does
not offend due process).

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evidence. See Heisig v. United States, 719 F.2d 1153, 1156 (Fed. Cir. 1983) (holding that
court may disagree with correction board’s decision, but cannot substitute its judgment where
“reasonable minds” could reach differing results on facts presented).

       Plaintiff does not dispute any facts, but takes issue with the BCNR’s sustaining the
decision to remove him from the SNA program. Although the court recognizes the
disappointment that plaintiff suffered when, after years of training, he was removed the week
before graduation, this decision reposed within the Navy’s discretion. Paragraph 718(g) of
CNATRAINST 1500.4F provides that, “[u]pon completion of extra training, the Operations
Officer shall, dependant upon the student’s demonstrated progress, either designate the
student to continue training or in the event of questionable performance or failure to make
progress . . . [can refer the student to the] PRB. Paragraph 719 states that “End-of-Phase
marginal performance shall be identified to focus attention on students whose performance,
though technically passing, is substandard and to determine if further training is or is not
warranted.” (Emphasis added).

        Although the PRB initially voted to retain plaintiff in the program, the commanding
officer and Training Wing Four’s Commodore determined that plaintiff was “too far behind
at this point to consider it reasonable to meet even the minimum standards.” AR Tab 1 at 27.
In answering plaintiff’s informal request, dated November 6, 2001, to Training Wing Four
appealing the decision to remove him from training, the Navy acknowledged that plaintiff
should have received notice of his mid-stage marginal status following flight RI-15. See
CNATRAINST 1500.4F ¶ 718. Nevertheless, the TRB, aware of this oversight, determined
that, even if plaintiff was awarded extra training flights following flight RI-15, he would
“[c]ertainly [be] no where [sic] near the marginal” bar needed to successful complete the
program. AR Tab 1 at 35. The BCNR had ample basis to conclude that the evidence did not
warrant reversal of the Navy’s decision to remove plaintiff from the SNA program. AR Tab
1 at 60. This was a decision fully grounded on the factual record.

        It is the Navy, not the court, that is the crucial decisionmaker with respect to plaintiff’s
qualifications to receive his aviator wings. The military must determine who is and is not fit
to serve as a navel pilot. See Orloff, 345 U.S. at 94 (“judges are not given the task of
running” the military); see also Brenner v. United States, 202 Ct. Cl. 678, 694 (1973) (“No
court is in a position to resolve and pass upon the highly complicated questions and problems
involved in the promotion procedure, which includes, but is not limited to, an analysis of the
fitness reports and personnel files and qualifications of all of the officers considered.”).

       Based on the foregoing, plaintiff has failed to carry his burden to overturn the decision
of the BCNR.



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                                      CONCLUSION

        Although the court cannot provide the redress that plaintiff seeks because his claim
raises nonjusticiable issues, plaintiff’s claim deals with actions by the Navy that plaintiff
views as unfair and improper, and the outcome of this case forecloses any career plaintiff has
had or may have with the Navy. Therefore, it is important that the court give plaintiff’s
record and arguments thorough attention even if plaintiff ultimately is not awarded the legal
relief that he seeks.

       Accordingly, based on the foregoing, defendant’s motion to dismiss is granted, and
the Clerk of the Court enter judgment for defendant on the ground that plaintiff’s claims are
nonjusticiable.

       IT IS SO ORDERED.

       No costs.


                                          s/ Christine O.C. Miller
                                    _____________________________________
                                          Christine Odell Cook Miller
                                          Judge




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